                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )       No. 3:05-CR-32
                                                       )       (PHILLIPS/GUYTON)
 JEREMY ROBBINS, et al.,                               )
                                                       )
                Defendants.                            )


                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate.

                The defendant Jeremy Robbins moves to seal several income tax documents that were

 filed as attachments to the United States’ Supplemental Response to Defendant’s Post-Hearing Brief.

 [Doc. 271]. For good cause shown, the defendant’s Motion to Seal Attachments to United States’

 Supplemental Response to Defendant’s Post-Hearing Brief [Doc. 271] is GRANTED. The

 attachment to the United States’ response [Doc. 270] shall be removed from public record and filed

 separately under seal.

                IT IS SO ORDERED.

                                               ENTER:


                                                     s/ H. Bruce Guyton
                                               United States Magistrate Judge




Case 3:05-cr-00032-TAV-HBG           Document 273          Filed 05/25/06     Page 1 of 1      PageID
                                           #: 115
